

Matter of Attorneys in Violation of Judiciary Law § 468-a (Claude) (2023 NY Slip Op 02165)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Claude)


2023 NY Slip Op 02165


Decided on April 27, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 27, 2023

PM-88-23
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Christofer Claude, Respondent. (Attorney Registration No. 4204731.)

Calendar Date:February 21, 2023

Before:

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.
Peyrot &amp; Associates, PC, New York City (David C. Van Leeuwen of counsel), for respondent.



Motion by respondent for an order reinstating him to the practice of law following his suspension by September 2022 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a,208 AD3d 1421, 1427 [3d Dept 2022]; see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's notice of motion and affirmation with exhibits dated January 10, 2023, supplemental submissions of February 20, 2023 and the February 17, 2023 correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Matter of Sehmi, ___ AD3d ____, ____, 184 NYS3d 653, 653 [3d Dept 2023]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.
Garry, P.J., Egan Jr., Aarons, Ceresia and Fisher, JJ., concur.








